                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                          GALVESTON DIVISION


MICHAEL BAZZREA, et al                      §
       Plaintiffs,                          §          Case No. 3:22-cv-00265
                                            §
v.                                          §
                                            §          Temporary Restraining
LLOYD AUSTIN, III, et al.,
                                            §               Order Requested
       Defendants.                          §

           PLAINTIFF SABRINA WILDER’S MOTION FOR
          EMERGENCY TEMPORARY RESTRAINING ORDER

      Pursuant to Rule 65 of the Federal Rules of Civil Procedure (“FRCP”),

Plaintiff Sabrina Wilder moves the Court for an Emergency Temporary Restraining

Order (“TRO”) to enjoin Defendants from discharging her during the pendency of

her claims against them in this Court. Plaintiff is a member of the Coast Guard

subject to the Department of Defense (“DOD”) and Coast Guard Mandate and is

one of the named plaintiffs in the July 25, 2022 class action complaint. ECF 1. This

Motion is Opposed by Defendants; Plaintiffs have also proposed a shortened

Response/Reply dates of 5 days and 3 days lest the Plaintiff be denied relief by

being discharged in the interim. Defendants oppose.

                        EXIGENT CIRCUMSTANCES

      Petty Officer Second Class (PO2) Sabrina Wilder has served honorably in the

Coast Guard for almost 6 years; her 5+ years career as an Operations Specialist in

the Coast Guard is about to come to an involuntary end without intervention and


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protection from this Court. PO2 Wilder and four other Coast Guard Plaintiffs –

filed this lawsuit on July 25, 2022. ECF 1.

      On Aug. 24, 2022, Plaintiff Wilder was called into her Commander’s office

and given a Notice of Intent to Discharge from with an attached fill-out form from

the Defendant Coast Guard, dated Aug. 18, 2022. Ex. 1. Plaintiff submitted her

Reply statement and form on Sep. 2, 2022. Under Coast Guard regulations,

Plaintiff does not merit a separation board because she has less than 8 years of

service. COMDTINST M1000.4 (series), ¶1.B.9.

      PO3 Timothy Jorden is one of the five named plaintiffs who has already been

discharged. His wife was 8 months pregnant at the time. He was discharged on

Aug. 11, 2022, as he was running out of terminal leave days. This made him

ineligible to receive Veterans Affairs Benefits and left his wife and newborn child

without medical care or insurance. See Ex. 2, Decl. of Rachel Saran, ¶ 4. He also

submitted an RAR that was denied under the Coast Guard’s Categorical ban of

RARs to the Vaccine Mandate. See ECF 1, ¶21.

      LT Caleb Wadsworth is a named Plaintiff who received his Notification to

Show Cause for retention in the Coast Guard before a Board of Inquiry on Oct. 4,

2022. He will submit his comments to the Board on this Friday, October 14, 2022.

Plaintiff Wadsworth, a Coast Guard rescue helicopter pilot, has also been passed

over for promotion from O-3 (Lieutenant) to O-4 (Lieutenant Commander)

because of his vaccination status. See Ex. 2, ¶4; see also ECF 1-5, ¶3.

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      In addition to the discharges and adverse administrative actions being taken

against the named Plaintiffs, the Intervenor Plaintiffs also continue to be

discharged, dropped to the ISL, deemed ineligible for promotion, etc. Plaintiffs

appreciate that potentially dispositive motions are pending with the Court, and

Plaintiffs would be willing to wait for the Court’s adjudication of those matters, but

Defendant Coast Guard continues to whittle away at Plaintiffs, including named

who are also Class Representatives – in Plaintiffs most recent Motion for Class

Certification (ECF 38). More to the point, Plaintiffs have repeatedly asked

Defendants’ counsel for a brief pause in discharges by Defendant Coast Guard,

during the pendency of these motions, specifically to avoid the need for this

Emergency TRO. See Ex. 3, Email of Counsel. Indeed, in a case with identical RFRA

claims from 122 members of the Coast Guard, the Defendant Coast Guard and its

attorneys have negotiated a “pause” to any discharge of the named Plaintiffs in that

case, and even one putative Plaintiff. See Ex. 4, Jackson, et al. v. Mayorkas, et al.,

4:22-cv-00825 (N.D. Tx), ECF 25, Status Update. The only difference between the

cases is that the plaintiffs here also press non-RFRA claims regarding the status

and licensure of the mRNA shots being administered.

                            FACTUAL PREDICATE

      PO2 Wilder submitted a Religious Accommodation Request (RAR) to be

excused from the Mandate in September of 2021. ECF 1-2, ¶¶ 5-7. Plaintiff’s RAR

was denied initially on January 26, 2022; that denial contained glaring factual

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errors regarding Plaintiff’s work circumstances as part of the basis for denial. Id.,

¶ 9. Plaintiff Wilder appealed her RAR denial on Feb. 17, 2022. She received notice

of her appeal denial on June 2, 2022. Id., ¶ 10.

      PO2 Wilder received a general, formal counseling (CG-3307) in her service

record book on June 15, 2022, that ordered her to report to the nearest Walgreens

pharmacy to receive her first Covid-19 vaccine by June 27, 2022, or face court-

martial or administrative separation for violation of Art.92, UCMJ. Id., ¶ 11.

      Having considered the matter in light of her religious objections and all of

the information she knew at the time, Plaintiff elected not to receive the shot. On

July 5, 2022, she received an adverse, formal counseling (CG-3307) in her service

record book for her decision. Id.

      PO2 Sabrina Wilder’s Notice of Intent to Discharge from the Defendant

Coast Guard (of Aug. 24, 2022) came with a recommendation for a General

Discharge. A General Discharge would cause Plaintiff Wilder to lose her post-9/11

GI Bill and VA Benefits that she’s otherwise earned by her service. She is also the

breadwinner for her husband and 2-year-old daughter, who rely on her benefits

and military healthcare, both of which are within days of being lost. She is waiting

to get an outdate from EPM and unsure of how to plan for her and her family’s

future. Ex. 2, ¶4b.

      On July 25, 2022, the 5 named Plaintiffs, including Petty Officer Third Class

Wilder, brought this class action as class representatives on behalf of themselves

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and all similarly situated Coast Guard members who are subject to the DOD and

Coast Guard Mandates. See ECF 1, Sec. VII, ¶¶ 103-11, pp. 45-50. The Complaint

alleges that Defendants have violated the Religious Freedom Restoration Act

(“RFRA”), the First Amendment Free Exercise Clause, the Fifth Amendment Due

Process Clause, the Informed Consent Laws, the Public Health Safety Act, the

Administrative Procedure Act (“APA”), and Defendants’ own regulations.

      In addition to the actions against the named Plaintiffs, the Defendant Coast

Guard has also discharged at least 4 putative plaintiffs from the 125 Intervenors

who previously petitioned the Court. See ECF 28. Alexis Colasurdo, Marc Block,

A.J. Schur, and Brett Schmitt have all been kicked out of the Coast Guard1; one

Reserve Intervenor Plaintiff, Dan Morrissey, has been dropped to the Inactive

Status List (ISL). Dan Morrissey was given orders to ISL on Sept. 26, 2022;

however, the orders were deemed “effective” on August 25, 2022, meaning that he

had been pushed to ISL a month before he was notified. His health insurance was

also ended on September 22, 2022, 4 days before being given notice of his

retroactive drop to the ISL.

            Of the remaining 125 intervenor plaintiffs, at least 20


1 Alexis Colasurdo and A.J. Schur were both Coast Guard Academy cadets who were

summarily disenrolled. Plaintiff Colasurdo eventually got her DD-214 Discharge
Certificate from the Coast Guard after she moved back home with her family.
Plaintiff A.J. Schur had no home to return to, so has remained homeless since her
disenrollment from the Coast Guard Academy, whom she notified of this issue
before she was thrown out. She is currently applying to a non-profit program in
Kansas City, MO., that runs a veteran’s homeless shelter. See Ex. 2, ¶5d.
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            have discharge dates. Of the 20 with dates, 15 have
            discharge dates before 1 December 2022. Of the 15, 11 will
            be out of the Coast Guard in the next three weeks: Josh
            Candelaria, Matt Powers, Courtney Keith, Benjamin
            Coutts, Andrew Larsen, Richard Hardwick, Chad
            Atwood, Ryan Curry, James Merrill, Cody Hauser, and
            Mark Byrd.

       Ex. 2, ¶8.

                         PROCEDURAL PREDICATE

      On July 25, 2022, the Commandant of the Coast Guard published ALCOAST

270/22, directing that “all non-compliant service members … be processed for

separation.” ECF 17-11, ALCOAST 270/22, ¶ 2.a. The set of those targeted by

ALCOAST 270/22’s call for immediate expulsion of the “non-compliant” includes

the entire cohort of “unvaccinated” who filed for Religious Accommodation

Requests (RARs), including Plaintiff Sabrina Wilder.

      The ALCOAST order comes on the heels of several federal court decisions

finding that three of the five branches of the Armed Services have been flagrantly

violating the RFRA rights of the members who applied to the process in good faith.2



2 See U.S. Navy SEALs 1-26 v. Biden, 2022 WL 34443 (N.D. Tex. Jan. 3, 2022)
(“Navy SEALs 1-26”), stay denied, 27 F.4th 346 (5th Cir. Feb. 28, 2022) (“Navy
SEALs 1-26 Stay Order”); Navy SEAL 1 v. Austin, 2022 WL 534459 (M.D. Fla. Feb.
18, 2022) (“Navy SEAL 1”), stay denied pending appeal No. 22-10645 (11th Cir.
Mar. 30, 2022); Air Force Officer v. Austin, 2022 WL 468799 (M.D. Ga. Feb. 15,
2022) (“Air Force Officer”); Poffenbarger v. Kendall, 2022 WL 594810 (S.D. Oh.
Feb. 28, 2022) (“Poffenbarger”); Doster v. Kendall, 2022 WL 982299 (S.D. Ohio
Mar. 31, 2022) (“Doster”); Colonel Financial Management Officer, et al., v.
Austin, et al., Case No. 8:22-cv-1275 (M.D. Fl.), ECF 229 (Aug. 18,
2022)(“CFMO”).
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The current Defendant Commandant holds the dubious distinction of granting the

fewest RARs of all of the services, including those services already enjoined.

      The information publicly available when the Complaint was filed indicated

that zero RARs had been granted by the Coast Guard. See Compl., ¶ 61 & Table 1.

Defendants have recently provided more current data in their Response in

Opposition to Plaintiffs PI Motion, showing that 12 RARs and RAR appeals have

been granted out of 1,343 RARs submitted. See ECF 22-8, Ex. A. That is less than

a 1% approval rate for religious accommodation requests – just slightly above zero.

      Plaintiffs, however, maintain that the real number of RARs remains zero.

Several other courts reviewing other Services’ RFRA policies have found that the

RARs granted by other services are in fact administrative exemptions for those in

the final months of service.3 Defendants have not attempted to dispute this claim

in their response in opposition to Plaintiffs’ PI Motion, ECF 17, or their recent Sur-

reply. See ECF 37. The unrebutted evidence before this Court is that the USCG has

effectively granted zero RARs.

      The ALCOAST takes the unusual step of making a Secretary-level decision

to discharge all possible plaintiffs who might challenge its validity without the




3See, e.g., CFMO, 2022 WL 3643512, at *1 (RARs granted only to marines those
“who are due for retirement and prompt separation”); Navy SEAL 1 v. Austin,
2022 WL 534459, at *19 (M.D. Fla. Feb. 18, 2022) (same for Marine Corps and
Navy); Poffenbarger v. Kendall, 2022 WL 594810, at *13 n.6 (S.D. Oh. Feb. 28,
2022) (“Poffenbarger”) (same for Air Force).
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benefit of any of the Due Process rights that many Coast Guardsmen have

otherwise earned. To wit: members who have served more than 8 years in the Coast

Guard acquire various Due Process rights, including the right to an Administrative

Separation Board. See COMDTINSAT M1000.4 (Military Separation), ¶ 1.B.5.b cf.

¶ 1.B.5.c; Accord ¶ 1.B.9.e cf. ¶ 1.B.9.f.

       This is particularly true where there is an allegation of “misconduct” as the

basis for discharge.

          Discharging Members with More than Eight Years
          Service for Misconduct. Commanding officers shall process
          all cases in which they contemplate a discharge under other
          than honorable conditions for misconduct as Article 1.B.23. of
          this Manual prescribes. In addition, they shall follow that
          Article’s procedures if considering discharging any member
          with eight or more years of total active and inactive military
          service for misconduct, even if contemplating an honorable or
          general discharge.

Id., ¶ 1.B.17.d. (bold in original).

       Instead, the Defendant Coast Guard is taking the extraordinary step of

treating these Notifications of Separation under ¶ 1.B.12. – Convenience of the

Government. See, e.g., Ex. 1, Separation Notice of Sabrina Wilder (Aug. 18, 2022)

(“This is to inform you that I have initiated action to discharge you from the U.S.

Coast Guard for the convenience of the government pursuant to the provisions of

Reference (a).”) Ref (a) is COMDTINST M1000.4 (series), entitled “Miltary

Separations.” Article 1.B.12.a.(7) is a discharge because of “[a] member’s inability

to perform prescribed duties, repeated absenteeism, or non-availability for

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worldwide assignment.”

      Plaintiff’s “non-availability” for deployment, however, is due entirely to the

Defendant Coast Guard’s own arbitrary, ultra vires, and medically-and-

scientifically-unsupportable decision to assert that “the unvaccinated” are not

“worldwide deployable” – when it suits them. See generally ECF 25, PL Reply Br.,

at 1-4 (lack of any supporting evidence) & 18 (deployability pretext).

      First, the Defendant Coast Guard’s policy and claim regarding Plaintiff

Wilder are factually incorrect. Defendant ignores that the unvaccinated military

Plaintiffs have already proven their capability for worldwide service during the

pandemic, when they worked side-by-side with their colleagues completing the

mission for 18 months or more, during the worst of the pandemic, before these

magical mRNA gene therapy shots became available and the Mandates were

announced in August 2021. This makes the Notification deficient and arbitrary.

      The Notification is deficient because it explicitly contradicts the CDC’s most

recent guidance, made mandatory through the Defense Health Agency’s recent

bulletin regarding compliance with CDC Guidance for Covid-19. The Defense

Health Agency is the DOD organization charged with mandating the entire DOD

Covid-19 Response. DHA-IPM 20.004 (June 16, 2022), is a binding, mandatory

issuance to all DOD Elements.

         Purpose. This Defense Health Agency-Interim Procedures
         Memorandum (DHA-IPM), based on the authority of the
         References (a) through (c), and in accordance with the guidance
         of References (d) through (ad), establishes the Defense Health
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           Agency’s (DHA) procedures to implement instructions, assign
           responsibilities, and prescribe procedures for the DHA’s
           implementation of the DoD’s COVID-19 Vaccination Program.

DHA-IPM 20.004, June 16, 2022.4

      Attachment 2 of the DHA-IPM has the “Procedures” for implementing the

program.

           b. DoD beneficiaries and other individuals eligible to receive
           vaccines from DoD will be offered COVID-19 immunization in
           accordance with recommendations from the U.S. Centers for
           Disease Control and Prevention (CDC), its Advisory Committee
           on Immunization Practices (ACIP), FDA, and DoD guidance.
           (1) Deviation from FDA guidance or CDC recommendations will
           be published in policy.

Id. (emphasis added).

      The DHA-IPM therefore compels all subordinate units to (a) comply with

CDC   recommendations,       and   (b)   publish   any   deviations   from   CDC

recommendations in a policy document.

      On Aug. 11, 2022, the CDC updated its Guidance for the Pandemic:

              CDC’s COVID-19 prevention recommendations no longer
              differentiate based on a person’s vaccination status
              because breakthrough infections occur, though they are
              generally mild, and persons who have had COVID-19 but are
              not vaccinated have some degree of protection against severe
              illness from their previous infection.

ECF 17-6, Aug. 11, 2022 CDC Guidance, at 3 (emphasis added).




4  Available here: https://media.defense.gov/2019/Dec/09/2002222065/-1/-
1/0/CIM_1000_4.PDF
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      Defendants’ continued insistence on differential treatment by vaccination

status now runs directly against the CDC’s guidance, and thereby violates the DHA-

IPM order for implementing the Covid-19 response. Defendant’s policy, and

discharge of Plaintiff Wilder, also targets the people who have standing to bring to

public scrutiny a service-wide, illicit religious discrimination program against

members of the Coast Guard. Moreover, the Defendant Coast Guard just recently

published a new instruction explicitly noting that Coast Guard members may not

be compelled to take an EUA product. see Ex. 5, COMDTINST 6000.7, ¶ 3.D.3

(Sep. 2022). Yet that is exactly what the Defendants continue to do and to use as

the basis for discharging Coast Guard Members like PO2 Wilder.

                                  LEGAL STANDARD

      To obtain a TRO, a Plaintiff must establish:

             (1) a likelihood of success on the merits; (2) a substantial
             threat of irreparable injury; (3) that the threatened injury
             if the injunction is denied outweighs any harm that will
             result if the injunction is granted; and (4) that the grant
             of an injunction will not disserve the public interest.

Ladd v. Livingston, 777 F.3d 286, 288 (5th Cir. 2015). Courts may employ “a

sliding scale” to “balance the hardships … with the degree of likelihood of success

on the merits.” Fla. Med. Ass’n, Inc. v. U. S. Dep’t of Health, Ed. & Welfare, 601

F.2d 199, 203 n.2 (5th Cir. 1979)(citation and quotation marks omitted). In a case

involving the First Amendment, however, there is a presumption of irreparable

injury, such that satisfaction of the first element is dispositive for other factors.


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Roman Catholic Diocese of Brooklyn v. Cuomo, 141 S.Ct 63, 67, 208 L.Ed.2d 206

(2020) (“Cuomo”). This applies equally to violations to RFRA because it enforces

First Amendment freedoms. See, e.g., Opulent Life Church v. City of Holly

Springs, 697 F.3d 279, 295 (5th Cir. 2012).

                                     ARGUMENT

I.    PLAINTIFF MEETS THE REQUIREMENTS FOR A TRO.

      A.    Plaintiff Has a Substantial Likelihood of Success on the Merits.
      Defendant Coast Guard has established a policy of refusing to grant any

RARs for the DoD Mandate (the “No Accommodation Policy” or “Categorical RA

Ban”). Similarly, the Navy adopted a process that did not even permit the

possibility of approval. As a result, the court granted an injunction because of the

sham process. Navy SEALs 1-26, 2022 WL 34443, at *5-6 (granting injunction

based on whistleblower declaration). On August 30, 2021, just one week after the

issuance of the DoD Mandate, the USCG adopted a new RAR process. See Compl.,

¶ 56 & ECF 1-11, COMDTINST 1000.15. COMDTINST establishes distinct,

centralized procedures for immunization-related RARs, which must be approved

by the Commandant, rather than the commanding officers, as for other requests.

See ECF 1-11, COMDTINST 1000.15, Encl. 1. The new rules also require RARs and

RAR appeals to be processed within 30 days, but the USCG has uniformly failed to

meet these deadlines. See Compl, ¶¶ 59-60. As a result of these new policies, the

USCG has granted at most less than 1% of RARs. But even the handful of approved


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RARs appear to be disguised administrative exemptions, so the Coast Guard may

not have granted any RARs at all. See ECF, PL Reply Br., at 14-15 & nn. 13-14.

      Plaintiff Wilder has pursued available military remedies, including a request

for religious accommodation. Her denial letter is essentially identical to those

received by other Plaintiffs and similarly situated class members. See Id., ¶¶ 89-

90. The only variations are names, dates, and descriptions of service members

position and responsibilities, which are frequently incorrect. See, e.g., ECF 1-2,

Wilder Decl., ¶ 9 (incorrect description of duties for herself and unit).

      B.     Plaintiffs and Intervenor Plaintiffs Will Suffer Irreparable Harm
             if a TRO is Not Granted.
      Plaintiff is facing imminent discharge. Plaintiff has been deprived of her

religious liberties protected by the First Amendment and enforced through RFRA’s

statutory protections. There can be “no question” that these types of restrictions

on religious exercise “will cause irreparable harm.” Cuomo, 141 S.Ct. at 67; see also

Elrod, 427 U.S. at 373 (plurality opinion) (“[t]he loss of First Amendment

freedoms, even for minimal periods of time, unquestionably constitutes

irreparable injury.”).

      Plaintiff has already had irreparable harm as a result of Defendants’ willful

religious discrimination for simply asking to exercise clearly granted rights in

federal statutes and DoD’s own regulations. Discharge terminates Plaintiff’s

entitlement to some court remedies, in particular preliminary injunctive relief,

and constitutes willful interference in the judicial process to deprive this Court of
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jurisdiction. These are not normally timed discharges that are incidentally

occurring during the litigation. Plaintiff Wilder is not yet due to leave the service;

this is an intentional early termination by Defendant Coast Guard.

      Where the “circumstances surrounding [their] discharge, together with the

resultant effect on the employee … so far depart from the normal situation…

irreparable injury may be found.” Sampson v. Murray, 415 U.S. 61, 90, 94 S.Ct.

937 (1974). Plaintiffs meet this high standard “because these injuries are

inextricably intertwined with Plaintiffs’ loss of constitutional rights,” and because

“[t]he crisis of conscience imposed by the mandate is itself an irreparable harm.”

Navy SEALs 1-26, at *13 (citation omitted). In addition to the intertwined

constitutional violations, Plaintiffs meet the Sampson standing because they will

be “discharge[d] without an individualized assessment of their fitness for

continued service and for reasons unrelated to their ability to service,” coupled

with a discharge with a misconduct characterization and stigmatic injuries that

cannot be “address[ed] … through post-discharge intra-service procedures.” Roe,

947 F.3d at 218. Additionally, forcing Plaintiffs to accept unwanted medical

treatment and, “requiring a person to submit to an inoculation without informed

consent or the presidential waiver is an irreparable harm for which there is no

monetary relief.” Rumsfeld I, 297 F.Supp.2d at 135.

      C.     The Balance of Equities and Public Interest Favor Granting TRO.
      A TRO is proper when “the balance of equities tips in [its] favor, and thatan

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injunction is in the public interest.” Winter v. Nat. Res. Def. Council, Inc., 555

U.S. 7, 20, 129 S.Ct. 365 (2008). “These factors merge when the Government is

the opposing party.” Nken v. Holder, 556 U.S. 418, 435, 129 S.Ct. 1749 (2009).

“[I]t is always in the public interest to prevent the violation of a party's

constitutional rights.” Campaign for S. Equal. v. Mississippi Dep't of Hum.

Servs., 175 F. Supp. 3d 691, 711 (S.D. Miss. 2016) (citation and quotation marks

omitted).

      The balance of equities strongly weighs in favor of issuing a TRO.

Defendants’ “unclean hands” weigh strongly in favor of equitable relief for Plaintiff

Wilder. Defendants’ illegal vaccine mandate, categorical ban on religious

accommodations, and now expedited “Needs of the Service” discharges are the

reasons why Plaintiff Wilder needs an emergency injunction. Further, the

requested relief does not impose any burden on Defendants because they do not

have to do anything differently for the next weeks than they have for the past two

years. The relief requested is relief that they have granted as a matter of course in

related actions challenging the DOD Mandate, yet have inexplicably withheld for

Plaintiffs (and putative plaintiffs) in this particular case.

II.   CONCLUSION

      This Court should grant the relief requested herein and in the Proposed

Order, namely:




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     (1) Enter a TRO enjoining Defendants from further disciplining or

         discharging Plaintiff Wilder until the Court’s decision on the Plaintiffs’

         August 16, 2022 Motion for Preliminary Injunction, ECF 17; and

     (2) Granting any other appropriate relief to preserve the status quo for

         named Plaintiffs.



Dated:      October 12, 2022         Respectfully submitted,

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                                     Attorneys for the Plaintiffs
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                      CERTIFICATE OF CONFERENCE

      This is to certify that counsel for Plaintiffs and Defendants conferred

regarding the foregoing Motion by email between October 4-12, 2022. Defendants

oppose this Motion.

Dated: October 12, 2022

                                            Respectfully Submitted,

                                            /s/ Dale Saran
                                            Dale Saran



                          CERTIFICATE OF SERVICE

      This is to certify that I have on this day e-filed the foregoing Motion using

the CM/ECF system.

Dated: October 12, 2022                     Respectfully Submitted,

                                            /s/ Brandon Johnson
                                            Brandon Johnson




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